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                     EXHIBIT B
                                           ANNUAL NOTICE
                          Case 1:20-cv-03388-WMR         OF 1-2
                                                  Document  ASSESSMENT
                                                                Filed 08/14/20 Page 2 of 2                                                                      PT-306 (revised May 2018)


COBB COUNTY
BOARD OF TAX ASSESSORS                                                !17090100610!                                       Official Tax Matter - 2020 Tax Year
P.O. Box 649                                                                                                                     This correspondence constitutes an
Marietta, GA 30061-0649                                                                                                        official notice of ad valorem assessment
(770) 528-3100                                                                                                                       for the tax year shown above.


                                                                                                                         Annual Assessment Notice Date: _________
                                                                                                                                                        05/21/2020
                                                                                       R3
                                                                                      2020                               Last date to file a written appeal: 07/06/2020
                                                                                                                                                             _________

           TDADAFTTTAFADADTFATTDTAATTFFAFDTFATDAAAAAFDFDFFTAAAADDTDFFDTADTDD
                                                                                                                         *** This is not a tax bill - Do not send payment ***
           ***********AUTO**5-DIGIT 30339   664   74   195401 1 AV 0.389

                                                                                                                            County property records are available online at:
                                                                                                                                     www.cobbassessor.org



       The amount of your ad valorem tax bill for the year shown above will be based on the Appraised (100%) and Assessed (40%) values specified in
       BOX 'B' of this notice. You have the right to submit an appeal regarding this assessment to the County Board of Tax Assessors. If you wish to file
       an appeal, you must do so in writing no later than 45 days after the date of this notice. If you do not file an appeal by this date, your right to file
       an appeal will be lost. Appeal forms which may be used are available at http://dor.georgia.gov/documents/property-tax-appeal-assessment-form.

       At the time of filing your appeal you must select one of the following appeal methods:

      (1) County Board of Equalization (value, uniformity, denial of exemption, or taxability)
  A   (2) Arbitration (value)
      (3) County Hearing Officer (value or uniformity, on non-homestead real property or wireless personal property valued, in excess of $500,000)


      All documents and records used to determine the current value are available upon request. For further information regarding this assessment
      and filing an appeal, you may contact the county Board of Tax Assessors which is located at 736 Whitlock Avenue, Suite 200, Marietta, GA
      30064 and which may be contacted by telephone at: (770) 528-3100. Your staff contacts are Appraiser Summers and Appraiser J. Smith.
               Additional information on the appeal process may be obtained at http://dor.georgia.gov/property-tax-real-and-personal-property
             Account Number                 Property ID Number             Acreage                            Tax Dist                      Covenant Year            Homestead
                                                                            .13                Unincorporated                                         -             YES - 111
       Property Description    R3 - RESIDENTIAL LOTS                                       NBHD - 17033476
       Property Address

                                       Taxpayer Returned Value              Previous Year Fair Market Value          Current Year Fair Market Value         Current Year Other Value
  B    100% Appraised Value                                                           416,940                                375,246
       40% Assessed Value                                                             166,776                                150,098
                                                                            Reasons for Assessment Notice
      Structure value adjusted to reflect current market                                          Epd-identified environmental issue
      Land value adjusted to reflect current market value
        The estimate of your ad valorem tax bill for the current year is based on the previous or most applicable year's net millage rate and the
        fair market value contained in this notice. The actual tax bill you receive may be more or less than this estimate. This estimate may not
        include all eligible exemptions.
                    Taxing Authority                             Other Exempt Homestead Exempt                   Net Taxable Value                Millage              Estimated Tax
      COUNTY GENERAL                                                                            35,470                   114,628                .008460                      969.75
      COUNTY BOND                                                                                                        150,098                .000130                       19.51
      COUNTY FIRE                                                                                                        150,098                .002860                      429.28
      SCHOOL GENERAL                                                                            10,000                   140,098                .018900                    2,647.85
      SCHOOL BOND                                                                                                        150,098                .000000                         .00
  C   TOTAL COUNTY                                                                                                                                                         4,066.39
      STATE TOTAL                                                                                 2,000                  148,098                .000000                         .00
      TOTAL ESTIMATE                                                                                                                                                       4,066.39




                                                                                                                                 Total Estimated Tax            $4,066.39
